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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF IDAHO

IDAHO HOME REALTY LLC, an Idaho Limited         )
Liability Company, doing business as IDAHO HOME )
REALTY GROUP,                                   )       Civil Action No.: 1:19-cv-417
                                                )
                             Plaintiff,         )       COMPLAINT FOR TRADEMARK
                                                )       INFRINGEMENT AND RELATED
                     v.                         )       CAUSES OF ACTION
                                                )
SHAWN TOMICH, an individual, TOMICH             )       JURY TRIAL DEMANDED
ENTERPRISES, LLC, an Idaho Limited Liability    )
Company, and IDAHOME REALTY GROUP, LLC )
an Idaho Limited Liability Company,             )

                            Defendants.




       Plaintiff, Idaho Home Realty LLC, dba Idaho Home Realty Group (“Plaintiff”), alleges

the following as its Complaint against Shawn Tomich, Tomich Enterprises, LLC, and Idahome

Realty Group, LLC (collectively “Defendants”).




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                                       INTRODUCTION

       1.      This Complaint for damages and other relief arises from Defendants’ unlawful

and willful attempts to misappropriate, infringe, and exploit the trademarks, likeness, and

goodwill of a longstanding real estate agency, Plaintiff, in the Treasure Valley of Idaho and

surrounds, which Plaintiff has offered under the trademark and tradename, IDAHO HOME

REALTY GROUP (“Plaintiff’s Mark”) since 2014.

       2.      On or about February 13, 2019, Defendants began advertising their real estate

agency services under the trademark and tradename, IDAHOME REALTY GROUP (the

“Infringing Mark”) based in the Treasure Valley of Idaho and surrounds, in an email-based

advertising campaign and by launching a website under the Infringing Mark.

       3.      Plaintiff and Defendants are both with the same broker, Silvercreek Realty Group.

The foregoing makes it apparent that Defendants copied Plaintiff’s Mark for use with identical

and competitive real estate agency services, and that Defendants’ infringement is willful.

                                JURISDICTION AND VENUE

       4.      This action arises under the Trademark Act of July 5, 1946 (the "Lanham Act"),

as amended (15 U.S.C. § 1051 et seq.). This Court has jurisdiction over the subject matter of this

action pursuant to 15 U.S.C. §§ 1053, 1121(a), and 1125(a) and (c), and 28 U.S.C. § 1331.

       5.      Personal jurisdiction exists over the Defendants pursuant to Rule 4 of the Federal

Rules of Civil Procedure and to Idaho Code § 5-514 because the Defendants have, in person and

through their agents, transacted business and committed tortious acts within the State of Idaho

and because, on information and belief, the Defendants own or use real property situated within

the State of Idaho.




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        6.      Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants reside, have

their principal place of business, and continue to infringe Plaintiff’s Mark in this Judicial

District.

                                              PARTIES

        7.      Plaintiff is a limited liability company organized and existing under the laws of

the State of Idaho, having its principal place of business in Meridian, Idaho.

        8.      Defendant, Shawn Tomich, is an individual who, on information and belief,

resides in Canyon County, Idaho.

        9.      Upon information and belief, Defendants Tomich Enterprises, LLC and Idahome

Realty Group, LLC are also Idaho entities located in the Treasure Valley with a principal place

of business of 4349 E. Switzer Way, Nampa, Idaho.

        10.     As alleged herein, Defendants willfully engaged in misleading and infringing

activities within this Judicial District.

        11.     Defendant Tomich is the principal owner, officer, manager and director of

Tomich Enterprises, LLC and Idahome Realty Group, LLC. Defendant Tomich is the moving

force behind those entities’ operations.

        11.     Defendants contributed to and facilitated the promotion and sale of infringing

services within this Judicial District under the Infringing Mark.

                   DEFENDANTS’ INFRINGEMENT CONFUSED CONSUMERS

        12.     Since adopting the Infringing Mark, Defendants have purposely confused

consumers into deducing that their entity is the original entity that is Plaintiff. This is

demonstrated by repeated acts of actual confusion by consumers.




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       13.      Since the launch of Defendants’ promotional campaign, Plaintiff has encountered

at least five instances of actual confusion.

       14.      On or about March 22, 2019, an employee at Plaintiff’s and Defendants’ broker,

Silvercreek Realty Group, was confused about Plaintiff’s signage, believing that it belonged to

Defendants.

       15.      Then, on or about July 23, 2019, Plaintiff encountered actual confusion from a

contractor who had confused Defendants’ email address with Plaintiff’s.

       16.      On or about September 4, 2019, a local real estate agent sent an email intended

for Plaintiff with specific documents relating to repairs and contract information for a property to

Defendants’ email. It took Plaintiff several explanations to the agent that she had emailed the

wrong company.

       17.      On or about September 21, 2019, a different real estate agent sent documents to

Defendants confusingly thinking Plaintiff was the same as Defendants.

       18.      On or about September 23, 2019, Plaintiff received a call from an individual

interested in property in Emmett, Idaho. The property was actually the Defendants’ listing and

Plaintiff had to explain this to the confused individual.

       19.      These instances of actual confusion weigh heavily towards a finding of trademark

infringement.

                          DEFENDANTS’ INFRINGEMENT IS WILLFUL

       20.      When Plaintiff learned in February 2019 that Defendants had stolen Plaintiff’s

Mark, it contacted Defendant Tomich to no avail.




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       21.       Since Plaintiff’s initial attempt to resolve this matter, Plaintiff’s counsel later sent

a letter to Defendants advising them of the trademark infringement in July 2019. Defendants

declined to cease the infringement.

       22.       Notwithstanding their actual notice, Defendants have continued use of the

Infringing Mark.

                                       COUNT I:
                     LANHAM ACT FALSE DESIGNATION OF ORIGIN
                        (DIRECT, CONTRIBUTORY, VICARIOUS)
                                   (15 U.S.C. § 1125)

       23.       The Plaintiff incorporate the foregoing paragraphs 1 through 22 as if set forth

fully herein.

       24.       Defendants’ use of the Infringing Mark as set forth herein is likely to cause

confusion, mistake or deception as to the affiliation, connection, or association between

Defendants and Plaintiff.

       25.       Defendants’ conduct, as described herein, constitutes a false or misleading

designation of origin or description of fact that is likely to cause confusion, mistake or deception

as to the affiliation, connection, or association between Defendants and Plaintiff.

       26.       Defendants’ use of the Infringing Mark as set forth herein is likely to cause

confusion, mistake or deception, and has caused confusion, mistake or deception, as to the

origin, sponsorship, or approval of Defendants’ services by Plaintiff.

       27.       Defendants’ conduct, as described herein, constitutes a false or misleading

designation of origin or description of fact that is likely to cause confusion, mistake or deception

as to the origin, sponsorship, or approval of Defendants’ services by Plaintiff.

       28.       Defendants’ conduct constitutes false designation of origin in violation of 15

U.S.C. § 1125.
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        29.     Plaintiff has been damaged by the conduct described herein in the form of lost

sales, injury to reputation, lost sales opportunities, and loss of goodwill. The amount of such

damages will be proved at trial. These damages are in excess of $75,000.00.

        30.     The harm to Plaintiff arising from Defendants’ conduct as described herein cannot

be fully measured or compensated in economic terms. Defendants’ actions have irreparably

damaged, and will continue to irreparably damage, Plaintiff’s market, reputation, and goodwill,

and may discourage current and potential customers from dealing with Plaintiff. Such

irreparable harm will continue unless Defendants’ acts are enjoined during the pendency of this

action and thereafter. As a result of the foregoing, Plaintiff is entitled to an award of a

preliminary and permanent injunction prohibiting Defendants’ use of the Infringing Mark.

        31.     Defendants’ conduct described herein was knowing, willful, and deliberate,

making this an exceptional case within the meaning of 15 U.S.C. § 1117, such that Plaintiff is

entitled to recover Defendants’ profits, actual damages, and the costs (including attorney fees)

associated with this action.

                                             COUNT II:
             DECEPTIVE TRADE PRACTICES IN VIOLATION OF IDAHO LAW
        32.     Plaintiff incorporates by reference paragraphs 1 through 31 above as though fully
set forth herein.
        33.     Defendants have engaged in deceptive trade practices in violation of Idaho
Deceptive Trade Practices Act, Idaho Statutes § 48-603, including subdivisions (1)-(3) and (5),
because their use of the Infringing Mark is likely to cause confusion, mistake or deception as to
the source of Defendants’ services in that customers, potential customers, and members of the
trade are likely to believe that services provided under the Infringing Mark are provided by,
sponsored by, approved by, licensed by, affiliated or associated with, or in some way connected to
Plaintiff.
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        34.     Defendants’ acts constitute infringement of Plaintiff’s Mark.
        35.     Defendants knew or should have known of Plaintiff’s rights in and to Plaintiff’s

Marks and that the use of the Infringing Mark for real estate agent services such that Defendants’
use would create a likelihood of confusion. Defendants’ unauthorized use of the Infringing Mark
has been knowing, willful, and deliberate.
        36.     Defendants’ trademark infringement constitutes unfair competition, which is
injurious to the public interest, in violation of the Idaho Deceptive Trade Practices Act.
        37.     Plaintiff has been, and will continue to be, damaged by Defendants’ willful
trademark infringement in a manner and amount that will be proved at trial.
        38.     Plaintiff has been, and will continue to be, damaged by Defendants’ willful
trademark infringement in a manner and amount that cannot be fully measured or compensated in
economic terms. Defendants’ actions have damaged, and will continue to damage, Plaintiff’s
market, reputation, and goodwill, and may discourage current and potential customers from
dealing with Plaintiff. Such irreparable harm will continue unless Defendants’ acts are restrained
and/or enjoined during the pendency of this action and thereafter.
        39.     Defendants’ conduct described herein was knowing, willful, deliberate, in bad faith
and/or in conscious and reckless disregard for the rights of Plaintiff, such that Plaintiff is entitled
to exemplary damages.
                                        ATTORNEY FEES

        The Plaintiffs have been required to obtain the assistance of counsel in the prosecution of

this matter. They are entitled to recover their reasonable costs and attorney fees pursuant 15

U.S.C. § 1117 and other applicable law.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a jury trial

on all issues so triable.


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                                             PRAYER

       WHEREFORE, Plaintiff respectfully requests this Court enter judgment in Plaintiff’s

favor and against the Defendants as follows:

       1.      Awarding Plaintiff’s actual economic and non-economic damages under the

Lanham Act and Idaho common law, in an amount to be determined at trial.

       2.      Awarding general damages to the Plaintiff in an amount to be determined at trial.

       3.      Awarding treble damages to the Plaintiff.

       4.      Awarding to the Plaintiff the Defendants’ profits.

       5.      Awarding to the Plaintiff its costs and attorney fees.

       6.      Awarding restitution, quantum meruit, or other equitable payments to offset the

Defendants’ unjust enrichment in an amount to be determined at trial;

       7.      Awarding the Plaintiff pre-judgment interest on all liquidated sums;

       8.      A determination that Defendants have willfully infringed Plaintiff’s Mark.

       9.      Granting the Plaintiff such other and further relief, at law and in equity, as this

Court deems just and proper.



Dated: July 11, 2019, by:                          /s Patrick C. Bageant
                                                   Patrick C. Bageant

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